          Case 1:20-cr-00493-VSB Document 27
                                          26 Filed 10/20/20
                                                   10/19/20 Page 1 of 1

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                                                 October 19, 2020

Via ECF
Hon. Vernon S. Broderick
United States District Judge
Southern District of New York                              10/20/2020
40 Foley Square
New York, NY 10007
       Re: United States v. Louis Lluberes, et al, 20-cr-493 (VSB)

Dear Judge Broderick:

      We respectfully write to request that Your Honor modify slightly the terms of
Mr. Louis Lluberes’ bond to requite four, not three, sureties (in addition to his wife.)

       As Your Honor is aware, Mr. Lluberes appeared on October 7 before the Hon.
Barbara C. Moses (U.S.M.J.). Among other terms, she required that Mr. Llubere’s
wife and three other FRP’s co-sign his bond. Dkt. #20. Over the last week, we have
held discussions with the government about who can act as sureties on the bond.
We have now reached a compromise where four approved people (in addition to Ms.
Lluberes) will sign the bond. We therefore respectfully request that the Court
modify the terms of Mr. Lluberes’ bail to require it to be signed by Mr. Lluberes’
wife and four FRP’s. The other conditions will all remain the same (and are already
complied with.)


                                        Respectfully submitted,
                                           /s/
                                        Susan R. Necheles
                                        Gedalia Stern
cc: AUSA Daniel Nessim (via ECF)
   AUSA Nicholas Chiuchiolo
